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EXHIBIT B
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Michigan Department of Licensing and Regulatory Affairs

Filing Endorsement

This is to Certify that the CERTIFICATE OF RENEWAL OF ASSUMED NAME
for

HENRY FORD HEALTH SYSTEM

ID NUMBER: 774093

to transact business under the assumed name of
HENRY FORD HOSPITAL

received by facsimile transmission on November 29, 2017 is hereby endorsed

Filed on December 7, 2011 by the Administrator.

The document is effective on the date filed, unless a
subsequent effective date within 90 days after
received date is stated in the document.

Expiration Date: December 31, 2016

SOTA
arte roe,

In testimony whereof, | have hereunto set my
hand and affixed the Seal of the Department,
in the City of Lansing, this 1ST day

4
iaZ
if? of December, 2017.

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teoneee”
WAL srRVCLS
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Winnnantt
Director

Bureau of Commercial Services

Sent by Facsimile Transmission 11336
Case 2:14-cv-11916-GCS-SDD ECF No. 47-3, PagelD.1317 Filed 06/08/15 Page 3 of 3

2:14-cv-11916-GCS-MJH Doc # 43-29 Filed 05/15/15 Pg3o0f3 PgID1241

11/28/2011 11:34 FAX 8138745608 HHHS CORP LEGAL Hoozsoag

DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS
BUREAL OF COMMERCIAL SERVICES, CORPORATION DIVISION

te 2 bet | (FOR BUREAU USE ONLY)
!

pete cn perenne pte a py om

EXPIRATION DATE: DECEMBER 21, 2016

CERTIFICATE OF RENEWAL OF ASSUMED AAME
For use by Corporations 74093

(Please read information and instructions on reverse 5 de

aT: santifice? an Wumper

Pursuant to the crovisions of Act 284, Public Acts of 1972 (orafit corporations) or Act 162, Puntic Acts of :982
(nonprofit corporations}. ie corporation in item one executes the fallawing Certificaie:

spenaguctl

}. The corporate name, resident ageni, and mailing address of ihe registered office ara.

HENRY FORD HEALTH SYSTEM

COiTH L EISENMANN

HENRY SORD HEALTH SYSTEM

1 FORG PLAGE - 55 SOVERNANCE
DETROIT Ml 48202

The assumed name anger which business is transacted is:
HENRY FORD HOSP UAL

ha

to}

The registratian of the assumed name is extended for a period expiring on Denernoer 27 of toe fifth full calendar
{ year following the vear in which this renewal is flied, unless sooner farminaisd.

4. The dosumeni is hereby signed as required by the Act.

Signed this 2Sth {foal Novenbex . tL

ays
By .. LG a

“stgnaiurdad a% Aulhonzed Ctficer or Agent)

David 3. bee, System Vice Fresident & General Counsel
“Type or Print Mame)

11/29/2011 11:30AM (GMT-05:00)
